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   6
   7                         UNITED STATES DISTRICT COURT

   8                       CENTRAL DISTRICT OF CALIFORNIA

   9
  10 JESUS GARCIA,                                  Case No.: 2:22-cv-07061-MCS (MAAx)

  11                Plaintiff,                      NOTICE OF SETTLEMENT OF
  12                                                ENTIRE CASE
             vs.
  13
  14 JYC LLC; and DOES 1 to 10,
  15                Defendants.
  16
  17         Notice is hereby given that Plaintiff JESUS GARCIA ("Plaintiff") and
  18 Defendants have settled the above-captioned matter as to the entire case. Parties
  19 request that the Court grant thirty (30) days from the date of this filing for Plaintiff
  20 to file dispositional documents in order to afford Parties time to complete settlement.
  21
       DATED: January 10, 2023                      SO. CAL EQUAL ACCESS GROUP
  22
  23                                                      /s/ Jason J. Kim
                                                    JASON J. KIM
  24                                                Attorney for Plaintiff
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  27
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                                                           NOTICE OF SETTLEMENT OF ENTIRE CASE
